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EXH|BIT B-6

 

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DISTRICT COURT, DOUGLAS COUNTY,

 

STATE OF COLORADO _
4000 Justice Way suite 2009 EF "1"1`“ D°¢",““€')‘ ..
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MICHAEL LEVY,
Plaintiff,
A COURT USE ONLY A
vs.

 

HOME DEPOT U.S.A., INC. d./b/a THE HOME
DEPOT, d/b/a HOME DEPO CO USA.,

Defendant.

 

Attorney for Defendant Home Depot U.S.A.a Inc.:

Arthur K, Smith Case Number: 20130\/600
l Law Offices of Arthur K. Smith
507 Prestige Circle Courtroorn: 5

Allen, Texas 75002
Telephone: (469) 5 l 9-25 00
Facsimile: (469) 519-2555
Atty. Reg. # 41?03

 

 

 

 

 

ORIGINAL ANSWER OF DEFENDANT HOME I_)EPOT U.S.A., INC.
'I`O PLAINTIFF’S COMPLAINT WITH JURY DEMAND

 

 

COMES NOW Home Depot U.S.A., Inc. (“Home Depot”), Defendant in the above-
entitled and numbered action and, by and through its attorney, Arthur K. Smith, and files this
Original Answer to Plaintiff’s Complaint (the “Complaint”) and Would respectfully show unto
the Court as follows:

JURISDICTION AND VENUE
l. Home Depot is without knowledge or information Sufflcient to enable it to admit

or deny the allegations of material fact contained in paragraph l of the Complaint.

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ORlGlNAL ANSWER OF DEFENDANT HOME DEPOT U.S.A., lNC.
TO PLAINT]FF'$ COMPLA[NT WlTH ]URY DEMAND Page 1

 

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2. Home Depot admits the allegations of material fact contained in paragraph 2 of
the Complaint.

3. Home Depot admits the allegations of material fact contained in paragraph 3 0f
the Complaint.

4. For answer to_ paragraph 4 of the Complaint, Home Depot states that this
paragraph of the Complaint asserts propositions of law to which no answer is required. However,
to the extent that an answer is required, the allegations are denied as they are also vague, and not
specific enough to permit Home Depot to know how the terms “reasonable care” and “its
equipment” used in the paragraph are defined

5. For answer to paragraph 5 of the Complaint, Home Depot states that this
paragraph of the Complaint asserts propositions of law to which no answer is required However,
to the extent that an answer is required, the allegations are denied as they are also vague, and not
specific enough to permit Home Depot to know how the terms “properly train” and “safe
operation of equipment” used in the paragraph are defined and/or limited.

6. Home Depot is without knowledge or information sufficient to enable it to admit
or deny the allegations of material fact contained in paragraph 6 of the Complaint.

7. Home Depot is without knowledge or information sufficient to enable it to admit
or deny the allegations of material fact contained in paragraph 7 of the Complaint.

II.
FIRST CLAIM FOR RELIEF

(Negligence)
8. For answer to paragraph 8 of the Complaint, Home Depot would incorporate by

reference its responses to paragraphs l through 7 of Plaintiff’s Complaint as if those responses

were set forth in full.

 

ORIGINAL ANSWER OF DEFENDANT HOME DEPOT U.S.A., INC.
TO PLA]NTlFF'S COMPLA]NT WITH IURY DEMAND Page 2

 

 

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9. Home Depot denies the allegations of material fact contained in paragraph 9 of
the Complaintl

10. Home Depot denies the allegations of material fact contained in paragraph 10 of
the Complaint

11. For answer to paragraph 11 of the Complaint, Home Depot states that the
allegations in this paragraph of the Complaint are so vague that they lack certain meaning and
therefore prevent Home Depot from knowing what the effect of any admission would be.
Accordingly, Home Depot denies the allegations of material fact contained in paragraph ll of
the Complaint

12. For answer to paragraph 12 of the Complaint, Home Depot states that this
paragraph of the Complaint asserts propositions of law to which no answer is required However,
to the extent that an answer is required, the allegations are denied as they are also vague, and not
specific enough to permit Home Depot to know how the terms “duty of care” and “its
equipment” used in the paragraph are defined.

13. Home Depot denies the allegations of material fact contained in paragraph 13 of
the Complaint.

14. Home Depot denies the allegations of material fact contained in paragraph 14 of
the Complaint.

SECOND CLAIM FOR RELIEF
§Statuto!y Premises Li_abilitv Pwant to C.R_.S. 13-21-115)

15. For answer to paragraph 15 of the Complaint, Home Depot would incorporate by
reference its responses to paragraphs 1 through 14 of Plaintiff’s Complaint as if those responses

were set forth in full.

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ORlGlNAL ANSWER OF DEFENDANT HOME DEPOT U.S.A., lNC.
'I`0 PLAINTlFF'S COMPLA[NT WITH ]URY DEMAND Page 3

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16. Home Depot admits the allegations of material fact contained in paragraph 16 of
the Complaint

17. For answer to paragraph 17 of the Complaint, Home Depot states that this
paragraph of the Complaint asserts propositions of law to which no answer is required. However,
to the extent,that an answer is required, Home Depot admits that members of the general public
who are on its premises for the purposes of shopping for merchandise are considered “invitees”
in accordance with C.R.S. 13-21-115. Otherwise, the allegations are denied.

18.- For answer to paragraph 18 of. the Complaint, Home Depot states that this
paragraph of the Complaint asserts propositions of law to which no answer is required. However,
to the extent that an answer is required, the allegations are denied.

19. Home Depot denies the allegations of material fact contained in paragraph 19 of
the Complaint.

20. Home Depot denies the allegations of material fact contained in paragraph 20 of
the Complaintl

21. To the extent not admitted herein, Home Depot denies all of the allegations of
material fact contained in the Complaint,

22. Home Depot denies that Plaintiff is entitled to'any of the relief for which he prays.

AFFIRMATIVE DEFENSES

23. Home Depot Specifically avails itself of those defenses as are contained and
created pursuant to C.R.S. §13-21-401 er seq., including but not limited to C.R.S. §13-21»403
(Presumptions) and C.R.S. §13-21-406 (Comparative fault as measure of damages).

24. Home Depot affirmatively asserts that Plaintiff may have assumed the risk of
injury or damage by voluntarily or unreasonably exposing himseif tod injury or damage With

ORlGINAL ANSWER OF DEFENDANT HOME DEPOT U.S.A., INC.
T 0 PLAINTIFF'S COMPLAINT WITH ]URY DEMAND Page 4

 

 

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knowledge or appreciation of the danger and risk involved, as set forth in C.R.S. §13-21~111.7
(Assumption of Risk).

25.- Although Home Depot expressly denies any wrongdoing in this matter, Plaintiff is
hereby notified that any judgment against Home Depot is limited to the degree of negligence or
fault attributable to it, pursuant to C.R.S. § 13-21-111.5. Home Depot reserves the right to
designate non-parties, pursuant to C.R.S. § 13-21-111.5(3)(b).

26. To the extent Plaintiff has sustained any injuries and/or damages, which Home
Depot either denies or is without sufficient information, Plaintiff s medical treatment, if any,
may not have been reasonably or necessary, or incurred as a result of conditions caused by the
incident complained of herein.

27. To the extent Plaintiff has sustained any injuries and/or damages, which Home
Depot either denies or is without sufficient information, those injuries and/or damages may be
due to pre-existing conditions-for Which Defendant bears no responsibility

28. Any and all non-economic damages, if any, shall be subject to the provision of
C.R.S. §13-21-102.5.

29. Any damages awarded in this case shall be reduced pursuant to C.R.S. §13-21-
111.6.

30. Defendant Home Depot gives notice that it intends to rely upon and invoke any
other defense or cross-claim that may become available or appear during the proceeding in this
case and are serves its rights to amend this Answer and to assert a cross-claim, if appropriate, to

include such additional defenses and affirmative actions.

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ORlGINAL ANSWER OF DEFENDANT HOME DEPOT U.S.A., INC.
TO PLAlNTlFF’S COMPLA[NT WITH IuRY DEMAND ` PHgE 5

 

 

 

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WHEREFORE, Defendant Home Depot U.S.A., Inc. respectfully prays that Plaintiff take
nothing by this action, and that Defendant Home Depot U.S.A., Inc. be dismissed with its costs

and with any and all other relief to which it may bejustly entitled.

A JURY TRIAL IS DEMANDED.
Respectfully submitted this lt')th day of April, 2013.

LAW OFFICES or ARTHUR K. SMITH,
A Professional Corporation

By: /s/ Arthur K. Smith
Arthur K. Smith
Counsel for Defendant
Home Depot U.S.A., Inc.

CERTIFICATE OF SERVICE

l hereby certify that the foregoing was electronically filed via LexisNexis File & Serve
and/or facsimile this 10"' day of April, 2013, and served on the following:

David W. Krivit

Bachus & Schanker, L.L.C.
1899 Wynkoop Street
Suite 700

Denver, CO 80202

/s/ Arthur K. Smith
Arthur K. Smith

ln accordance with C.R.C.P. 121, §1-26(9), a printed copy of this document with original signatures is being
maintained by the filing party and will be made available for inspection by other parties or the Court upon
requestl

158913.541\Original Answer

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TO PLAlNTlFF'S COMPLAINT WITH ]URY DEMAND Page 6

